                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Lynchburg Division

  CRYSTAL VL RIVERS                 )
                                    )
       Plaintiff,                   )
                                    )
  v.                                )                   Civil Action No.: 6-18-cv-061
                                    )
  UNITED STATES OF AMERICA, et al., )
                                    )
       Defendants.                  )

  DEFENDANTS PETER SACKETT’S and SHERRI SACKETT’S MOTION TO STRIKE
  AND RESPONSE IN OPPOSITION TO PLAINTIFF’S NOTICE AND DECLARATION

         COME NOW the Defendants, Peter Sackett and Sherri Sackett (collectively “the

  Defendants”), by counsel, and for their response to the Notice and Declaration of Crystal VL

  Rivers filed previously herein, they state the following:

     1. Local Rule 11(c)(1) provides that the only briefs permitted without leave of court are the

  brief accompanying the motion, the opponent’s responsive brief, and the movant’s reply brief, all

  of which have already been filed previously herein by the parties. [ECF Docs 62, 63, 150, 159.]

     2. On December 3, 2019 and without first seeking leave of Court, however, the Plaintiff

  filed her Notice and Declaration. [ECF Doc. 307].

     3. Through this Notice and Declaration, the Plaintiff is attempting to raise new arguments,

  to assert additional facts and allegations, and essentially to amend her filed Complaint to cover

  items that she had failed to previously address. Thus, the Plaintiff’s Notice and Declaration is an

  improper attempt by the Plaintiff to bolster her already convoluted and wholly insufficient claims

  that she has asserted against the Defendants in her Complaint.

     4. Consequently, the filing of the Plaintiff’s aforesaid Notice and Declaration is not

  permitted under the applicable Rules, and thus it should be struck.




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     WHEREFORE, the Defendants Peter Sackett and Sherri Sackett respectfully request that the

  Court grant their motion, that the Court strike the Notice and Declaration of Crystal VL Rivers,

  and that the Court grant the Defendants such other and further relief as the Court deems

  necessary and appropriate.

                                                             Respectfully submitted,
                                                             PETER SACKETT and
                                                             SHERRI SACKETT

                                                             By: /s/ Kathryn A. Poe
                                                                      Counsel


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 12, 2019, I electronically filed the foregoing using the
  CM/ECF system, which will send notification of such filing to all registered ECF users. I have
  also served the foregoing by first class United States Mail, postage prepaid, on the following pro
  se plaintiff at the following address:

                                          Crystal VL Rivers
                                           P.O. Box 1182
                                          Forest, VA 24551
                                           Plaintiff Pro Se

                                                                      /s/ Kathryn Poe




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